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                      IN THE UNITED STATES DISTRICT COURT FOR
                           THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


    TERVES LLC,

                  Plaintiff

          vs.                                                     Case No. 1:19-cv-1611-DCN

    YUEYANG AEROSPACE NEW                                       JUDGE DONALD C. NUGENT
    MATERIALS CO., LTD., et al.

                  Defendants.



                MOTION REGARDING PROSECUTION HISTORY ESTOPPEL,
                  CLAIM CONSTRUCTION AND EXPERT TESTIMONY

         Defendants file this Motion following on Plaintiff’s filing of an office action response on

January 19, 2022 in the pending ‘653 Patent reexamination. The response was 90 pages, and it

took positions regarding multiple contested issues in this case, some of which are in direct conflict

with Plaintiff’s position in this litigation or in prior prosecution of its patents. In support of its

office action response, Plaintiff submitted a 32-page declaration of its expert, Dr. Swanger. Dr.

Swanger’s new opinions are in conflict with the claim constructions in this case and with his own

prior opinions and testimony in this case. It has also become clear that Plaintiff’s patents have at

least one inherent and material error.1 In view of the foregoing developments and the positions

Plaintiff and its expert took therein, Defendants ask for the following relief: a) Defendant be

granted the opportunity to redepose Dr. Swanger’s on his new opinions and the rationale behind

the change in his opinions, b) the Court reexamine the claim constructions in view of the



1
 On February 11, 2022, Defendants made Plaintiff aware of this error and Defendant responded with non sequiturs
and have failed to candidly disclose the error to the USPTO in the pending reexamination.
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conflicting positions Plaintiff took at the USPTO as compared to its position at the claim

construction phase, c) the Court take into account Plaintiff’s failure to notify the USPTO of

material errors in its ‘653 Patent during the reexamination process as additional evidence of

inequitable conduct, and d) the Court take into account Plaintiff’s new claim construction of

“intermetallic” while considering Defendant’s pending summary judgment motion; e) in addition,

or in the alternative, Plaintiff should be estopped from arguing at trial any position inconsistent

with positions it took before the USPTO.

                                     APPLICABLE LAW

       “Claims may not be construed one way in order to obtain their allowance and in a different

way against accused infringers.” Southwall Techs, Inc. v. Cardinal IG Co., 54 F.3d 1570, 1576

(Fed. Cir. 1995).

       Arguments made during prosecution of a patent may narrow the scope of patent claims,

and the limitation may go beyond the embodiments shown in the prior art about which the

arguments were made. Southwall, 54 F.3d at 1581. “[A]ny argument made regarding the need to

distinguish prior art…does create a separate estoppel, regardless of other distinctions made.” Id.

at 1583. “Clear assertions made during prosecution in support of patentability, whether or not

actually required to secure allowance of the claim, may also create an estoppel.” Id. (relying on

Texas Instrum., Inc. v. United States ITC, 988 F.2d 1165, 1174 (Fed. Cir. 1993)).

       In construing disputed claim terms, the court should consider the prosecution history to

determine whether any interpretations may have been disclaimed during prosecution in order to

obtain allowance. ZMI Corp. v. Cardiac Resucitator Corp., 844 F.2d 1574, 1580 (Fed. Cir. 1988).

Accord Brown & Williamson Tobacco Corp. v. Phillip Morris¸1999 U.S. Dist. Lexis 22252, *82



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(W.D. Ky. Apr. 1, 1999) (quoting the applicant’s arguments made during prosecution to assist in

construing a claim term).

                                               BACKGROUND

        During claim construction, Plaintiff argued that an “intermetallic phase” was simply a

mixture of two or more metals while Defendants argued that it was a solid phase with two or more

metallic or semi-metallic elements “with an ordered structure and well-defined and fixed

stoichiometry.”2 [Dkt. 36, p.8 of 28.] The Court adopted Plaintiff’s construction. [Dkt. 89, pp. 5,

6.] Now, Plaintiff’s expert is arguing exactly the opposite to the USPTO, advancing the position

that Defendants advanced during claim construction. (Exhibit 1, Swanger’s Jan. 14, 2022 decl. at

¶ 40.) Plaintiff’s shifting position on this claim term runs headlong into the Federal Circuit’s

admonition that “[c]laims may not be construed one way in order to obtain their allowance and in

a different way against accused infringers.” Southwall, 54 F.3d at 1576.

A.      Dr. Swanger’s opinions have shifted on some subjects, and he offers new opinions,
        both of which require a new deposition.

        The purpose of requiring expert reports is to nail down the nature of opinions an expert

will offer at trial. See, for example, Plaintiff’s Motion to Strike Dr. Medlin’s six paragraph, two-

page declaration. [Dkt. 150.] Imagine how incensed Plaintiff would have been if Dr. Medlin

submitted a 32-page declaration. However, Defendants do not have the option to move to strike

Dr. Swanger’s recent declaration from the ex parte proceeding at the USPTO. However, to the




2
 Stoichiometry is a fundamental chemistry term which defines the relationship between the relative quantities of
substances taking part in a reaction or forming a compound, typically a ratio of whole integers. See “Stoichiometry.”
Merriam-Webster.com Dictionary, Merriam-Webster, https://www.merriam-webster.com/dictionary/stoichiometry.
Accessed 24 Feb. 2022. In lay terms, two hydrogen atoms, H, combine with one oxygen atom, O, to form water, H20.
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extent they bear on this proceeding and what testimony he may give at trial, Defendants’ need the

opportunity to depose Dr. Swanger.

         Defendants do not intend to delineate every area of inquiry for a supplemental deposition

of Dr. Swanger unless the Court requires such a procedure.3 However, Defendants offer one telling

example to illuminate the concerns presented by Dr. Swanger’s expansive new affidavit.

         Leading up to the Court’s claim construction ruling, Defendants argued that an

“intermetallic phase” was a “solid phase involving two or more metallic or semi-metallic elements

with an ordered structure and well-defined and fixed stoichiometry.” [Dkt. 89, Order on Claim

Const. p.6.] Plaintiff rejected Defendants’ construction and argued that “intermetallic phase” only

required it to be solid and to “contain magnesium or a magnesium alloy and an additive material.”

[Id. p.6.] The Court adopted the construction urged by Plaintiff. [Id., p.7.]

         Dr. Swanger provided testimony in support of Plaintiff’s position regarding the proper

construction of “intermetallic particle.”4

         [Defendants’ expert] Dr. Medlin states that “A POSITA [person of skill in the art]
         would understand that intermetallic phases or compounds have a fixed
         stoichiometry.”5 This is incorrect on its face. The binary phase diagrams for two of
         the examples cited in the ‘010 and ‘653 Patents…each show an intermetallic phase
         with a range of composition, not a fixed stoichiometry, namely CuMg2 and Mg2Ni.
         A POSITA would understand that more than one intermetallic phase is possible,
         and that intermetallic phases can occur at fixed stoichiometries…or that they can
         occur within a range of compositions.




3
  Oral examination under oath often results in the best, most candid answers from the witness when they are the sole
product of his mind rather than the result of consultations with counsel to develop the answer most conducive to the
party’s position in litigation.
4
  To be sure, Dr. Swanger hedged his bets a little, but his opinions plainly advocated for the position that Plaintiff
agued to the Court.
5
  Fixed stoichiometry means a fixed ratio of metals in the intermetallic, such as Mg2Ni – exactly two magnesium
atoms for every nickel atom.
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         (Exhibit 2, May 4, 2020 Rebuttal Report of Lee A. Swanger at 8 (emphasis added).) That

is, Dr. Swanger argued that Dr. Medlin’s opinion to “understand that intermetallic phases or

compounds have a fixed stoichiometry ….” was incorrect on its face. So as of May 4, 2020 Dr.

Swanger argued that “intermetallics” do not have fixed stoichiometry. Dr. Swanger’s opinion in

his final July 27, 2021 report adopted the Court’s claim construction: “Intermetallic Phase: solid

compound that has a combination of two or more metals.” (Exhibit 3, July 27, 2021 Swanger Rep.

at 4.)

         Now, compare Dr. Swanger’s new definition of “intermetallic” in his recent 32-page

USPTO declaration:

         40. A POSITA would understand that an intermetallic compound is a special case
         of the reaction of two metals to form a specific stoichiometric compound with a
         specific chemistry and crystal structure. An intermetallic compound is
         differentiated from a binary metal alloy, which can have any arbitrary ratio of two
         metals. Copper and nickel, for example, can be combined in any ratio, and the
         resultant metal alloy will be a uniform solution of copper in nickel, or nickel in
         copper. No unique compounds with fixed chemistry or new crystallographic
         structures occur in the copper-nickel system.

         (Exhibit 1, Jan. 14, 2022 Swanger Decl.) That is, Dr. Swanger did a 180 and advanced the

precise construction Defendants argued to the Court. Plaintiff’s shifting position on this claim term

runs headlong into the Federal Circuit’s admonition that “[c]laims may not be construed one way

in order to obtain their allowance and in a different way against accused infringers.” Southwall, 54

F.3d at 1576. Defendants need the opportunity to ask Dr. Swanger which position he will argue to

the jury at trial. Does an “intermetallic” have a “fixed stoichiometry” or not?




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B.      The Court should reexamine the claim constructions in view of the conflicting
        positions Plaintiff took at the USPTO as compared to its position at the claim
        construction phase.

        As Defendants just discussed, at claim construction, the Plaintiff argued that an

intermetallic phase was a “compound that has two or more metals.” [Dkt. 50, PageID# 5049.] The

Defendants’ proposed that intermetallic phase should be defined as “solid phase involving two or

more metallic or semi-metallic elements with an ordered structure and well-defined and well-

defined and fixed stoichiometry.” [Dkt. 50, PageID# 5049]. The Court adopted Plaintiff’s

construction. [Dkt. 89, PageID# 6349].

        But, in its USPTO filings, Plaintiff submits Dr. Swanger’s view that intermetallic particles

do have a fixed stoichiometry:

        The ‘795 Reexam identifies Mg2Cu and Mg2Ni as examples of the galvanically-
        active precipitates or galvanically-active intermetallic particles. The phase
        diagrams for the Mg-Cu and Mg-Ni systems…show that when copper is added to
        magnesium, Mg2Cu is the first intermetallic compound to form. Similarly, when
        nickel is added to magnesium, Mg2Ni is the first intermetallic compound to form.

(Exhibit 1, Jan. 14, 2022 Swanger Decl. at ¶ 38) Mg2Cu and Mg2Ni are examples of compounds

with fixed stoichiometries of the type that Plaintiff eschewed during claim construction.

        The motivation for Plaintiff’s change of heart is obvious. It had to make that argument to

have a prayer of getting claims allowed in the reexam because the USPTO found that Xiao

anticipates the ‘653 patent. The argument that Plaintiff is now using to attempt to secure allowed

claims is contrary to the positions it took earlier during claim construction.

        Fixed stoichiometric ratios of magnesium-nickel and magnesium-copper compounds are

prime examples of an “intermetallic particle” under the definition urged by Defendants during

claim construction.



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       Finally, Dr. Swanger made an astonishing admission that there is no real way to know what

is happening in any of the alloys at issue in this case.

       Phase diagrams with three elements are complex, phase diagrams with four or more
       phases do not generally exist, and phase diagrams for an alloy with eight elemental
       components are essentially impossible to determine. As a result, a POSIT A would
       have no idea, based on thermodynamics or chemistry, as to what phases would exist
       in Xiao’s examples.

(Id. at ¶ 31) All of the claims in the patents at issue in this case can contain four or more

components. See ‘653 Patent independent claims 1, 12, 25, 29, 33, 37, 41, 45, 49, 73, 74. Dr.

Swanger admitted that no POSITA could determine what phases would exist in such materials

with four or more components. These admissions have striking implications for claim construction

and invalidity analysis.

       This Motion is being filed to apprize the Court of the issues that exist and to ask the Court

to establish a new briefing schedule. Given how recent Plaintiff’s new positions are and how

quickly the trail setting is approaching, Defendants have erred on the side of getting this Motion

on file as compared to comprehensively addressing all the claim construction issues that need to

be revisited. It could be that the Court would prefer to address Defendants’ concerns by way of a

motion in limine filed by Defendants seeking to limit Plaintiff’s argument on specific issues to the

positions it took before the USPTO. However, the motion in limine route only goes so far. It does

not, for example, address what to do about the fact that the Plaintiff argued one construction of

“intermetallic” to the Court, a construction the Court accepted, and then argued a different

construction to the USTPO in an effort to secure allowed claims.




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C.       Plaintiff has failed to notify the USPTO of material errors in its ‘653 patent during
         the reexamination process, and Defendants ask the Court to take those facts into
         account in ruling on the pending summary judgment motions.

         Throughout a patent reexam, the patent owner owes a duty to disclose all material

information to the USPTO.

         A patent by its very nature is affected with a public interest. The public interest is
         best served, and the most effective reexamination occurs when, at the time a
         reexamination proceeding is being conducted, the Office is aware of and evaluates
         the teachings of all information material to patentability in a reexamination
         proceeding. Each individual associated with the patent owner in a reexamination
         proceeding has a duty of candor and good faith in dealing with the Office, which
         includes a duty to disclose to the Office all information known to that individual to
         be material to patentability in a reexamination proceeding.

         37     C.F.R.        §    1.555(a).     The

Defendants in their motion for summary

judgment have demonstrated Plaintiff’s

failure to disclose material information to

the USPTO. Plaintiff’s failure continues to

this    day      and     is       becoming     more

obviously intentional.

         Example 1 from the ‘653 Patent
                                                           Example 1: ‘653 Patent, Col. 17
recites an example alloy implementing the

teachings of the purported invention. See adjacent figure. Defendants notified the Plaintiff that

there is a material error in Example 1 of the ‘653 Patent. (Exhibit 4, Feb. 11, 2022 Letter from Ed

White to Plaintiff’s Counsel.)6 ’653 Patent Example 1 claims a cast alloy with a dissolution rate of



6
  Defendants focused on the obvious examples recited herein, but those are by no means is the only inconsistency or
apparent error that exists in the patents in suit. In addition, it does not appear that during discovery the experimental
results were produced that support the examples recited in the patents.
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75 per minute.7 A straightforward unit conversion of that dissolution rate results in a value of

4,500 per hour in the same remaining units at the same conditions. Example 1 later sites a

dissolution rate of 325 per hour in the same units at the same conditions. These claims cannot both

be true. Any typographical or technical errors in Example 1 should be brought to the attention of

the USPTO and the Plaintiff has failed to notify the USPTO.

           This example is particularly material to the reexamination process and this litigation

because Plaintiff claims a dissolution rate of 325 mg/cm2∙hr in claims 9, 18, 23, 26, 30, 34, 38, 42,

46, 66, 67, 74 as a top end of a range of dissolution rates. So, what is this upper limit? Is it of 75

per minute, which converts to 4,500 per hour or is it 325 per hour?

           Plaintiff’s shifting claim definitions also impact Defendant’s motion for summary

judgement. In his May 4, 2020 Rebuttal Report, Dr. Swanger opined that intermetallics with fixed

stoichiometry “is incorrect on its face,” (Exhibit 2, May 4, 2020 Rebuttal Report of Lee A.

Swanger at 8 (emphasis added), but on Jan 14, 2022 the “795 Reexam identifies Mg2Cu and Mg2Ni

as examples of the galvanically-active precipitates or galvanically-active intermetallic particles,”

(Exhibit 1, Jan. 14, 2022 Swanger Decl at ¶ 38). If fixed stoichiometry is required as Plaintiff now

asserts, then Plaintiff has not proven that Defendant’s alleged infringing products infringe any of

Plaintiff’s patents. Plaintiff has not even mentioned a fixed stoichiometry in Defendant’s alleged

infringing products let alone proven that Defendant’s products infringe any of Plaintiff’s patents.

Defendant’s motion for summary judgement should be granted.




7
    Actual units and conditions are mg/cm2∙min in 3% KCl solution at 90◦C.

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D.     Conclusions.

       Plaintiff should be estopped from arguing at trial any position inconsistent with positions

it took before the USPTO. Given the shifting sands of Plaintiff’s claim construction, it should be

estopped from using its results-oriented construction. In addition, Defendant respectfully requests

the following relief:

       1.      Defendant be granted the opportunity to redepose Dr. Swanger’s on his new

opinions and the rationale behind the change in his opinions;

       2.      The Court reexamine the claim constructions in view of the conflicting positions

Plaintiff took at the USPTO as compared to its position at the claim construction phase;

       3.      The Court take into account Plaintiff’s failure to notify the USPTO of material

errors in its ‘653 Patent during the reexamination process as additional evidence of

inequitable conduct;

       4.      The Court take into account Plaintiff’s new claim construction of intermetallic

compounds while considering Defendant’s pending summary judgment motion; and

       5.      In addition, or in the alternative, Plaintiff should be estopped from arguing at trial

any position inconsistent with positions it took before the USPTO.

Dated: Feb. 25, 2022.                                 Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on Feb. 25, 2022, I electronically transmitted the foregoing document to the

Clerk of the Court using the ECF system for filing and transmittal of a Notice of Electronic Filing

to the following ECF registrants:

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                                             /s/ Edward L. White
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